                    Nos. 24-3060, 24-3061, 24-3062, 24-3063 (consol.)

                                    IN THE
                        UNITED STATES COURT OF APPEALS
                           FOR THE SEVENTH CIRCUIT

    CALEB BARNETT, BRIAN NORMAN,             )     Appeal from the United States
    HOOD’S GUNS & MORE, PRO GUN              )     District Court for the Southern
    AND INDOOR RANGE, and                    )     District of Illinois
    NATIONAL SHOOTING SPORTS                 )
    FOUNDATION, INC.,                        )
                                             )
                 Plaintiffs-Appellees,       )
                                             )
          v.                                 )     No. 3:23-cv-00209-SPM
                                             )
    KWAME RAOUL, Attorney General of         )
    the State of Illinois, and BRENDAN F.    )
    KELLY, Director of the Illinois State    )     The Honorable
    Police,                                  )     STEPHEN P. McGLYNN,
                                             )     Judge Presiding. 1
                 Defendants-Appellants.

               STATE DEFENDANTS-APPELLANTS’ MOTION FOR
                    EXTENSION OF TIME TO FILE BREIF

         State Defendants-Appellants Illinois Attorney General Kwame Raoul, Illinois

State Police Director Brendan F. Kelly, and Illinois Governor JB Pritzker move this

court for a 14-day extension of time, from July 28, 2025, to August 14, 2025, to file

their reply brief in this appeal. The attached declaration is submitted in support of

this motion.

                                                 Respectfully submitted,

                                                 KWAME RAOUL
                                                 Attorney General


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 Together with Harrel v. Raoul, No. 24-3061; Langley v. Kelly, No. 24-3062; and
Federal Firearms Licensees of Illinois v. Pritzker, No. 24-3063.
      State of Illinois

By:   /s/ Megan L. Brown
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                                      DECLARATION

       I, Megan L. Brown, state the following:

       1.     I am a citizen of the United States over the age of 18. My current

business address is 115 South LaSalle Street, Chicago, Illinois 60603. I have personal

knowledge of the facts set forth in this declaration. If called upon, I could

competently testify to these facts.

       2.     I am an Assistant Attorney General in the Civil Appeals Division of the

Office of the Attorney General of the State of Illinois, and I have been assigned to

represent the State Defendants-Appellants before this court in the appeals docketed

as Barnett v. Raoul, No. 24-3060; Harrel v. Raoul, No. 24-3061; Langley v. Kelly, No.

24-3062; and Federal Firearms Licensees of Illinois v. Pritzker, No. 24-3063.

       3.     The State Defendants-Appellants’ reply brief is due by July 28, 2025, on

one extension of time. This is the State Defendants-Appellants’ second request for

an extension of time to file this brief.

       4.     This motion is being filed at least seven days before the reply brief’s due

date, as required by 7th Cir. R. 26.

       5.     I will be unable to complete the reply brief for State Defendants-

Appellants in this appeal, have it reviewed through the regular review process of the

Civil Appeals Division, finalize it, and file it with this court by July 28, 2025, for the

following reasons.

       6.     On June 24, 2025, I presented oral argument on behalf of Respondent

Illinois Educational Labor Relations Board in Bd. of Trs. of Ill. State. Univ. v. Ill.
Educ. Lab. Rels. Bd., No. 4-24-0936, in the Illinois Appellate Court, Fourth District.

The case deals with an order of certification and the meaning of certain words in the

Illinois Educational Labor Relations Act. Preparation for oral argument was a

priority in my work schedule because oral argument had already been scheduled.

      7.     I am also responsible for drafting briefs and managing litigation in other

matters. For instance, I filed a response brief on June 6th, 2025 in Champ v.

Forcum, No. 23-3023 (7th Cir.). This case is related to a separate response brief that

I am responsible for drafting in Champ v. Forcum, No. 23-3022 (7th Cir.), which is

due on July 28th, 2025. I am also responsible for drafting a response brief in Lezona

Effoua v. Meehan, No. 1-25-0220 (Illinois Appellate Court, First Judicial District),

which is currently due on July 29th, 2025. Additionally, I am responsible for drafting

a response brief in Arroy v. Clark, No. 25-1871 (7th Cir.), which is currently due on

July 30, 2025. Finally, I am responsible for drafting the response brief in Boclair v.

Jeffreys, No. 24-2397 (7th Cir.), which is currently due on August 15, 2025.

      8.     Finally, in order to competently draft the reply brief in this case, I must

address four merits briefs and four amicus briefs together totaling over 200 pages in

length, which exceeds the length of response briefs in typical cases. If granted, the

requested extension to August 14, 2025, would still allow briefing to be complete

more than five weeks before the September 22, 2025, argument date.

      9.     On July 16, 2025, I gave notice to Erin Murphy, Matthew Rowen,

Nicholas Aquart, and Andrew Lothson, counsel for the Barnett plaintiffs; David G.

Sigale and William V. Bergstrom, counsel for the Harrel plaintiffs; Thomas G. Maag,




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counsel for the Langley plaintiffs; and Carl D. Michel and Sean Brady, counsel for the

Federal Firearms Licensees of Illinois plaintiffs, that I would be filing a motion for a

14-day motion for extension of time. The Barnett, Harrel, and Langley plaintiffs do

not object to this motion. These attorneys do not object to this request.

      10.    I do not request this extension of time from July 28, 2025, to August 14,

2025, to file the reply brief in this appeal for purposes of delay, but so that I may try

to meet my professional responsibilities, properly represent my clients, and provide

this court with a thorough brief in this case.

      Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the

foregoing is true and correct to the best of my knowledge, information, and belief.

      Executed on July 17, 2025.

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                   CERTIFICATE OF FILING AND SERVICE

      I hereby certify that on July 17, 2025, I electronically filed the foregoing State
Defendants-Appellants’ Motion for Extension of Time to File Brief with the Clerk of
Court for the United States Court of Appeals for the Seventh Circuit by using the
CM/ECF system.

       I certify that the other participants in this appeal, named below, are CM/ECF
users and will be served by the CM/ECF system.

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